     CASE 0:16-cv-03308-SRN-KMM Document 10 Filed 10/21/16 Page 1 of 14



                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MINNESOTA


Steven Verba,

       Plaintiff,                                  Case No. 0:16-cv-03308

v.                                                 Hon. Susan Richard Nelson

KONE INC.,                                         Magistrate Katherine M. Menendez

       Defendant.


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                                ANSWER TO COMPLAINT

        Defendant, KONE Inc. (“KONE”), by its attorneys, Dykema Gossett PLLC, for its

answer to Plaintiff’s Complaint states as follows:

                              JURISDICTION AND VENUE

        1.      This action arises under Title I of the Americans with Disabilities Act of




                                               1
    CASE 0:16-cv-03308-SRN-KMM Document 10 Filed 10/21/16 Page 2 of 14




1990 ("ADA"), 42 U.S.C. § 12101, et seq., as amended by the Americans with Disabilities

Act Amendments Act of 2008 ("ADAAA"). Therefore, this court has original jurisdiction

to hear this complaint and to adjudicate the claims stated herein under Title 28 U.S.C. §§

1331-32.

       ANSWER:        The allegations in this paragraph constitute legal conclusions to

which no response is necessary. To the extent a response is required, KONE does not

contest the jurisdiction of this Court. In further answer, KONE denies that it violated

any law and denies all allegations of wrongdoing.

       2.        Plaintiff further invokes the supplemental jurisdiction of this Court to

consider claims under state law. This Court has supplemental jurisdiction under Title 28

U.S.C. § 1367(a) to adjudicate Plaintiff's state law claims.

       ANSWER: The allegations in this paragraph constitute legal conclusions to

which no response is necessary. To the extent a response is required, KONE does not

contest the jurisdiction of this Court.

       3.      The unlawful practices described hereinafter have been committed in the

District of Minnesota, the employment records relevant to those practices are, upon

information and belief, maintained and administered at the offices of Defendant in the district

of Minnesota, and Defendant does substantial business within Minnesota.

       ANSWER: KONE admits only that it conducts business within Minnesota

and that KONE’s Eagan branch is located in this district.             KONE denies that it

committed any “unlawful practices” and denies all allegations of wrongdoing.




                                                2
    CASE 0:16-cv-03308-SRN-KMM Document 10 Filed 10/21/16 Page 3 of 14



                                          PARTIES

         4.    Plaintiff Steven Verba (hereinafter "Plaintiff" or "Verba") is an individual who

resides in the City of Bloomington, County of Hennepin, State of Minnesota.

       ANSWER:         KONE is without knowledge or information sufficient to form a

belief as to the truth of the allegations of this paragraph.

         5.    Defendant Kone, Inc., (hereinafter "Defendant" or "Kone") is a Delaware

corporation whose registered office address is 2345 Rice St., Ste. 230, Roseville, MN

55113.

         ANSWER: Admitted.

                          FACTS COMMON TO ALL COUNTS

         6.    Defendant is an elevator repair and construction company. Plaintiff worked for

Defendant at its Eagan, Minnesota location as an Assistant Mechanic from December of 2014

through May 1, 2015.

       ANSWER:         KONE admits that it is engaged in the business of constructing,

modernizing,     repairing,   and    maintaining     elevators,   escalators,   and    related

equipment. KONE further admits that Plaintiff worked for KONE as an assistant

mechanic beginning on December 4, 2014, that he was assigned to the Eagan,

Minnesota branch, and that Plaintiff took a medical leave of absence from that

position in May 2015. KONE denies any remaining allegations as untrue.

         7.    In February of 2015, Plaintiff began to experience severe pain in his legs.

After the pain did not improve for a couple of days, Plaintiff went to the emergency

room ("ER") on February 24, 2015, where he was diagnosed with deep vein thrombosis




                                               3
    CASE 0:16-cv-03308-SRN-KMM Document 10 Filed 10/21/16 Page 4 of 14




("DVT" or "blood clots"), which was caused by the heavy lifting, scaffold climbing, and

kneeling he engaged in at his position with Defendant. The physician gave him a note

which stated: "Steven Verba was seen in our Emergency Department today, February

24, 2015. He may return to work on 2/25/15 but cannot climb to heights, perform heavy

lifting greater than 25 pounds, prolonged standing on left leg until cleared by vascular

medicine or primary care physician."

      ANSWER:       KONE denies the allegations of this paragraph to the extent they

are inconsistent with the doctor’s note dated February 25, 2015, which speaks for

itself. KONE is without knowledge or information sufficient to form a belief as to the

truth of the remaining allegations of this paragraph.

       8.    Plaintiff called his supervisor at Kone, Jack Bultman ("Bultman"),

following his visit to the ER and told him about the diagnosis and the note from the

doctor. Plaintiff received a call from Defendant's workers' compensation insurance

company the following day to begin the process of applying for workers' compensation

benefits. That same day, Plaintiff received a call from a Nurse for Defendant who told

him that Defendant had a light-duty work program for employees with workers'

compensation injuries, so he should show up to work that Monday, March 2, 2015 and

Defendant would put him back to work.

      ANSWER:       KONE admits only that Plaintiff discussed his condition with his

supervisor, Jack Bultman, in February 2015, and that during certain periods of time,

Plaintiff became eligible for KONE’s Early Return to Work Program. KONE is




                                           4
    CASE 0:16-cv-03308-SRN-KMM Document 10 Filed 10/21/16 Page 5 of 14




without knowledge or information sufficient to form a belief as to the truth of the

remaining allegations of this paragraph.

       9.      When Plaintiff came into work on March 2nd as instructed by the Nurse, he

gave the February 24th doctor's note to Bultman. Bultman read the note, handed it back

to Plaintiff, and said "We don't know if we're going to honor this yet. I only have to keep

you here two hours a day." Bultman then instructed Plaintiff to report to work for 2 hours

a day doing light-duty work in the office, which Plaintiff did. On March 5, 2015,

Plaintiff saw his physician, who provided him with a new note to provide to Defendant,

which stated that Plaintiff "has a DVT (blood clot) and is on blood thinners for 3 months

(until June 1st, 2015). He should not be working in a position that would expose him to

bleeding injury or significant trauma. He may work full time without other limitations."

Plaintiff provided this note to Defendant that same day. However, despite this new work

restriction, Defendant kept Plaintiff working only two hours per day doing light-duty

office work.

      ANSWER:        KONE admits only that, under KONE’s Early Return to Work

Program, Plaintiff worked for KONE for two hours each day from February 26, 2015

to May 1, 2015. KONE denies the allegations of this paragraph to the extent they are

inconsistent with the doctor’s note dated March 5, 2015, which speaks for itself.

KONE is without knowledge or information sufficient to form a belief as to the truth

of the remaining allegations of this paragraph.




                                            5
    CASE 0:16-cv-03308-SRN-KMM Document 10 Filed 10/21/16 Page 6 of 14




       10.    Plaintiff continued to work 2 hours per day for Kone doing light duty office

work until May 1, 2015. On May 1, 2015 Randy Strong ("Strong"), Defendant's Branch

Manager, took Plaintiff aside and said "What's going on with your injury?" Plaintiff

responded that he was still on the restrictions outlined in his March 5th doctor's note

until at least June 1, 2015. Strong responded "Well, Mark Anderson [Strong's supervisor]

told me we don't have any work for you anymore." Plaintiff asked if that meant that

Defendant was firing him. Strong responded by shrugging his shoulders. When Plaintiff

reported to work for his two hour shift the next day, Strong said "I told you we don't have

any work for you, what are you doing here?" and instructed Plaintiff to leave. Plaintiff

asked Strong to contact Plaintiff's union business agent Dave Aaserud ("Aaserud")

regarding the status of Plaintiff's employment with Defendant.

       ANSWER: KONE admits only that, under KONE’s Early Return to Work

Program, Plaintiff worked for KONE for two hours each day from February 26, 2015

to May 1, 2015. KONE is without knowledge or information sufficient to form a

belief as to the truth of the remaining allegations of this paragraph.

       11.    Strong sent Aaserud an email on May 5, 2015 stating: "Steve wanted me to

contact you regarding the status of his employment. My understanding is the work comp

claim has been denied. He is being placed on a 'Leave of Absence' until he is able to procure a

release from his doctor. If he has any further questions, please have him direct them to Mark

Anderson."




                                              6
    CASE 0:16-cv-03308-SRN-KMM Document 10 Filed 10/21/16 Page 7 of 14




        ANSWER: KONE denies the allegations of this paragraph to the extent they

are inconsistent with the email dated May 5, 2015, which speaks for itself. KONE is

without knowledge or information sufficient to form a belief as to the truth of the

remaining allegations of this paragraph.

        12.    On July 14, 2015, Plaintiff's doctor provided him with a note that stated that

he "may return to work without restriction on Monday, July 20th.” Aaserud emailed a

copy of this note to Bultman and Strong on July 16, 2015, stating: "Per our conversation

here's the release letter for Mr. Verba, he'll be at the Kone office Monday." However,

Bultman called Aaserud on July 17, 2015 and told Aaserud that Defendant had no work

for Plaintiff and instructed Aaserud to tell Plaintiff not to report to work on the 20th.

Kone continued to employ other Assistant Mechanics in Plaintiff's position. Defendant's

stated reason for not returning Plaintiff to work was untrue and pretextual. Defendant has

failed to return Plaintiff to work to date.

       ANSWER: KONE denies the allegations of this paragraph to the extent they

are inconsistent with the doctor’s note dated July 14, 2015 and the email dated July

16, 2015, which speak for themselves. In further answer, KONE admits only that in

July of 2015, there was no available work for Plaintiff, and that Plaintiff is not

currently employed by KONE.             KONE denies any allegations of wrongdoing as

untrue. KONE is without knowledge or information sufficient to form a belief as to

the truth of the remaining allegations of this paragraph.

        13.     Plaintiff filed a charge of disability discrimination, retaliation and failure to




                                                7
    CASE 0:16-cv-03308-SRN-KMM Document 10 Filed 10/21/16 Page 8 of 14



accommodate with the EEOC on January 6, 2016. Plaintiff received a right to sue letter

from the EEOC on September 27, 2016.

       ANSWER:       KONE is without knowledge or information sufficient to form a

belief as to the truth of the allegations of this paragraph.


                                  CAUSES OF ACTION

                                          COUNT I

     Disability Discrimination in Violation of the Americans with Disabilities Act, 42
                                  U.S.C. § 12101 et seq.

       14.     By reference hereto, Plaintiff incorporates paragraphs 1-13 of his

Complaint.

       ANSWER:       KONE incorporates by reference its answers to Paragraphs 1-13

of this Complaint as though fully set forth herein.

       15.     The Americans with Disabilities Act ("ADA") states in relevant part: "No

covered entity shall discriminate against a qualified individual on the basis of disability in

regard to discharge of employees... and other terms, conditions, and privileges of

employment." 42 U.S.C. § 12112(a).             The term "discriminate against a qualified

individual on the basis of disability" includes "not making reasonable accommodations to the

known physical or mental limitations of an otherwise qualified individual with a disability

who is an . . . employee." § 12112(b)(5)(A).

       ANSWER:       The allegations in this paragraph constitute legal conclusions to

which no response is necessary. To the extent a response is required, KONE denies

the allegations of this paragraph to the extent they are inconsistent with the law.




                                               8
    CASE 0:16-cv-03308-SRN-KMM Document 10 Filed 10/21/16 Page 9 of 14




       16.     Plaintiff and Defendant were employee and employer respectively for the

purposes of the Americans with Disabilities Act. Plaintiff is disabled as defined in § 12102(1)

and is a "qualified individual" as defined in § 12111(8).

      ANSWER: The allegations in this paragraph constitute legal conclusions to

which no response is necessary. To the extent a response is required, KONE denies

that Plaintiff is disabled under the Americans With Disabilities Act.

       17.     Defendant's conduct constitutes a violation of 42 U.S.C. § 12101 et seq.

       ANSWER: Denied as untrue.

       18.    As a direct result of Defendant's conduct, Plaintiff has suffered the loss of past

and future income, mental anguish, emotional distress, loss of benefits, and other damages in

an amount in excess of $75,000.

       ANSWER: Denied as untrue.

                                          COUNT II

Retaliation in Violation of the Americans with Disabilities Act, 42 U.S.C. § 12101, et
                                          seq.

       19.    By reference hereto, Plaintiff incorporates paragraphs 1-18 of his

Complaint.

      ANSWER:         KONE incorporates by reference its answers to Paragraphs 1-18

of this Complaint as though fully set forth herein.

       20.    During all relevant times herein, Plaintiff was an "employee" within the

meaning of 42 U.S.C. § 12111(4) and Defendant was a "covered entity" within the meaning

of 42 U.S.C. § 12111(2).




                                               9
   CASE 0:16-cv-03308-SRN-KMM Document 10 Filed 10/21/16 Page 10 of 14




       ANSWER:       The allegations in this paragraph constitute legal conclusions to

which no response is necessary. To the extent a response is required, KONE denies

the allegations of this paragraph to the extent they are inconsistent with the law.

       21.    The Americans with Disabilities Act provides that "[n]o person shall

discriminate against any individual because such individual has opposed any act or

practice made unlawful by this chapter or because such individual made a charge,

testified, assisted, or participated in any manner in an investigation, proceeding, or

hearing under this chapter." 42 U.S.C. § 12203(a).

       ANSWER:       The allegations in this paragraph constitute legal conclusions to

which no response is necessary. To the extent a response is required, KONE denies

the allegations of this paragraph to the extent they are inconsistent with the law.

       22.    By its conduct as laid out above, Defendant violated 42 U.S.C. § 12203(a).

       ANSWER: Denied as untrue.

       23.    As a direct and proximate result of Defendant's conduct, Plaintiff has

suffered loss of income, emotional distress, and other damages in an amount in excess of

$75,000.00.

       ANSWER: Denied as untrue.
                               COUNT III

 Reprisal in Violation of the Minnesota Human Rights Act, Minn. Stat. § 363A.01, et
                                         seq.

       24.    By reference hereto, Plaintiff incorporates paragraphs 1-23 of his

Complaint.




                                            10
   CASE 0:16-cv-03308-SRN-KMM Document 10 Filed 10/21/16 Page 11 of 14




       ANSWER:       KONE incorporates by reference its answers to Paragraphs 1-23

of this Complaint as though fully set forth herein.

       25.    During all relevant times herein, Plaintiff was an "employee" within the

meaning of Minn. Stat. § 363A.03, subd. 15 and Defendant was his "employer" within the

meaning of Minn. Stat. § 363A.03, subd. 16.

       ANSWER:       The allegations in this paragraph constitute legal conclusions to

which no response is necessary. To the extent a response is required, KONE denies

the allegations of this paragraph to the extent they are inconsistent with the law.

       26.    The Minnesota Human Rights Act provides that it is an "unfair

discriminatory practice for any individual . . . to intentionally engage in any reprisal

against any person because that person . . . (1) opposed a practice forbidden under this

chapter or has filed a charge, testified, assisted, or participated in any manner in an

investigation, proceeding, or hearing under this chapter . . ." Minn. Stat. § 363A. 15.

       ANSWER:       The allegations in this paragraph constitute legal conclusions to

which no response is necessary. To the extent a response is required, KONE denies

the allegations of this paragraph to the extent they are inconsistent with the law.

       27.    By its conduct as laid out above, Defendant violated Minn. Stat. § 363A.15.

       ANSWER: Denied as untrue.

       28.    As a direct and proximate result of Defendant's conduct, Plaintiff has

suffered and continues to suffer loss of income, emotional distress, and other damages in

an amount in excess of $75,000.00.




                                             11
   CASE 0:16-cv-03308-SRN-KMM Document 10 Filed 10/21/16 Page 12 of 14



       ANSWER:       Denied as untrue.

                                       COUNT IV

                   Retaliation in Violation of Minn. Stat. § 176.82

       29.    By reference hereto, Plaintiff incorporates paragraphs 1-28 of his

Complaint.

       ANSWER:       KONE incorporates by reference its answers to Paragraphs 1-28

of this Complaint as though fully set forth herein.

       30.    Minn. Stat. § 176.82, subd. 1 provides that: "Any person discharging or

threatening to discharge an employee for seeking workers' compensation benefits or in

any manner intentionally obstructing an employee seeking workers' compensation benefits

is liable in a civil action for damages incurred by the employee including any diminution

in workers' compensation benefits caused by a violation of this section including costs and

reasonable attorney fees, and for punitive damages not to exceed three times the amount

of any compensation benefit to which the employee is entitled. Damages awarded under

this section shall not be offset by any workers' compensation benefits to which the

employee is entitled."

       ANSWER:       The allegations in this paragraph constitute legal conclusions to

which no response is necessary. To the extent a response is required, KONE denies

the allegations of this paragraph to the extent they are inconsistent with the law.

       31.    Plaintiff and Defendant were employee and employer respectively for the

purposes of Minn. Stat. § 176.82.




                                            12
     CASE 0:16-cv-03308-SRN-KMM Document 10 Filed 10/21/16 Page 13 of 14




       ANSWER:        The allegations in this paragraph constitute legal conclusions to

which no response is necessary. To the extent a response is required, KONE denies

the allegations of this paragraph to the extent they are inconsistent with the law.

        32.   Defendant's conduct as laid out above constitutes a violation of Minn. Stat. §

176.82.

        ANSWER: Denied as untrue.

        33.   As a direct and proximate result of Defendant's violation of Minn. Stat. §

176.82, Plaintiff has suffered and continues to suffer economic loss, emotional distress and

other damages in an amount in excess of $75,000.00.

        ANSWER: Denied as untrue.

                                   PRAYER FOR RELIEF

       WHEREFORE, Defendant KONE Inc. prays that Plaintiff’s Complaint be

dismissed with prejudice, that Plaintiff’s requests for relief be denied, and that the

Court award whatever other relief in favor of KONE Inc. as is just and proper.

                                AFFIRMATIVE DEFENSES

1.     Plaintiff’s Complaint fails to state a cause of action upon which relief can be granted.

2.     Plaintiff has failed to mitigate his damages.

3.     Plaintiff’s claims are barred in whole and in part by Plaintiff’s failure to exhaust

administrative, contractual and/or statutory remedies.

4.     Plaintiff’s claims are barred for the reason that Plaintiff’s alleged condition does not

constitute a “disability” within the meaning of the applicable statutes and regulations.




                                               13
     CASE 0:16-cv-03308-SRN-KMM Document 10 Filed 10/21/16 Page 14 of 14




5.     KONE complied with the requirements of all applicable contracts, statutes and

regulations. To the extent Plaintiff establishes that KONE committed any violation (if at all),

such violation was due to bona fide errors or omissions and was otherwise unintentional

notwithstanding the maintenance of procedures reasonably adopted to avoid them.

6.     Plaintiff’s claims are barred by the doctrines of accord and/or satisfaction.

       KONE reserves the right to add additional affirmative defenses upon completion of

discovery.

       WHEREFORE, Defendant KONE Inc. prays that Plaintiff’s Complaint be dismissed

with prejudice, that Plaintiff’s requests for relief be denied, and that the Court award whatever

other relief in favor of KONE Inc. as is just and proper.




Dated: October 21, 2016                      /s/ Elisa J. Lintemuth
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                                               14
